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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              EVANSVILLE DIVISION

 FREEDOM ORDNANCE MFG., INC.,             )
                                          )
                         Plaintiff,       )
                                          )
                      v.                  )             3:16-cv-00243-RLY-MPB
                                          )
 THOMAS E. BRANDON, Director, Bureau of )
 Alcohol Tobacco Firearms and Explosives, )
                                          )
                         Defendant.       )

                                   FINAL JUDGMENT

        Today, the court granted Defendant’s Cross-Motion for Summary Judgment and

 denied Plaintiff’s Motion for Summary Judgment. The court now enters final judgment

 in favor of the Defendant and against the Plaintiff.


 SO ORDERED this 27th day of March 2018.




 Laura Briggs, Clerk
 United States District Court


 _______________________
 By: Deputy Clerk


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